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Peter Strojnik, U'S' COURTS
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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO
Case No: /-' /g* CA/ ~ 5520 'BLl/\J
Peter Strojnik, -

Plaintiff,

VS.

Block 22 LLC dba The Grove Hotel

 

Defendant.

 

 

 

COMPLAINT
1. Alnericans with Disabilities Act
2. Negligence

1. Plaintit`f brings this action pursuant to the .(1) Americans with Disabilities Act, 42
U.S.C. §12101 etseq. and corresponding regulations, 28 CFR Palt 36 and Departrnent
of Justice Standards for Accessible Design (“ADA”) and (2) common law of

negligence per se.
PARTIES
2. Plaintiff Peter Strojnik is a veteran and a disabled person as defined by the ADA.

3. Plaintiff is a single man currently residing in Maricopa County, Arizona. Plaintiff is
and, at all times relevant hereto has been, legally disabled by viitue of a severe right-
sided neural foraminal stenosis with symptoms offemoral neuropathy, prostate cancer
and renal cancer, degenerative right knee and is therefore a member of a protected

class under the ADA.

 

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9.

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Plaintiff suffers from physical impairments described above which impairments
substantially limit his major life activities. Plaintiff walks with difficulty and pain
and requires compliant mobility accessible features at places of public
accommodation Plaintiff"s impairment is constant, but the degree of pain is episodic
ranging from dull and numbing pain to extreme and excruciating agony.
Defendant, owns, operates leases or leases to a lodging business (“Hotel”) located at
245 S. Capitol Blvd, Boise, Idaho 83702 which is a public accommodation pursuant
to 42 U.S.C. § l2l8l(7)(A) which offers public lodging services See 28 CFR §36.104
and a listing of public accommodations in 42 U.S.C. §12181(7).

JURISDICTION
District Couit has jurisdiction over this case or controversy by virtue of 28 U.S.C. §§
28-1331 and 42 U.S.C. § 12188 and 28 U.S.C. § 1367.
Plaintiff brings this action as a private attorney general who has been personally
subjected to discrimination on the basis of his disability, see 42 U.S.C. §12188 and
28 CFR §36.501.
This Court has continuing subject matter jurisdiction by virtue of, inter alia,
Plaintiff’s claim for equitable nominal damages

Venue is proper pursuant to 28 U.S.C. § l39l.

lO.The ADAAG violations in this Verified Complaint relate to barriers to Plaintiffs

mobility. This impairs Plaintiff’s full and equal access to the Hotel which, in turn,
constitutes discrimination satisfying the “injury in fact” requirement of Article III of

the United States Constitution.

ll.Plaintiff is deterred from visiting the Hotel based on Plaintiff"s knowledge that the

Hotel is not ADA compliant as such compliance relates to Plaintiff’s disability.

l2.Plaintiff intends to visit Def`endant’s Hotel at a specific time when the Defendant’s

noncompliant Hotel becomes fully compliant with ADAAG; just as a disabled
individual who intends to return to a noncompliant facility suffers an imminent injury
from the facility's existing or imminently threatened noncompliance with the ADA, a
plaintiff who is deterred from patronizing a store suffers the ongoing actual injury of

lack of access to the Hotel.

 

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COUNT ONE
Violation of Plaintiff’s Civil Rights under the ADA

13. Plaintiff realleges all allegations heretofore set forth.

l4.By virtue of his disability, Plaintiff requires an ADA compliant lodging facility
particularly applicable to his mobility, both ambulatory and wheelchair assisted.

lS. Plaintiff intended to visit Boise and therefore, reviewed vacation booking websites as
documented in Addendum A.

16. Air booking websites took Plaintiff to third party hotel booking websites as
documented in Addendum A.

17. Plaintiff became aware that third party booking websites disclosed general availability
and description of Defendant’s Hotel. Third Party booking websites referenced here
are more fully documented in Addendum A which is by this reference incorporated
herein.

18.Third party booking websites failed to identify and describe mobility related
accessibility features and guest rooms offered through its reservations service in
enough detail to reasonably permit Plaintiff to assess independently whether
Defendant’s Hotel meets his accessibility needs as more fully documented in
Addendum A.

19.Third party booking websites also failed to make reservations for accessible guest
rooms available in the same manner as individuals who do not need accessible rooms.
See Addendum A.

20. Thereafter, Plaintiff became aware that Defendant’s lSt party booking website failed
to identify and describe mobility related accessibility features and guest rooms offered
through its reservations service in enough detail to reasonably permit Plaintiff to
assess independently whether Defendant’s Hotel meets his accessibility needs as more
fully documented See Addendum A.

21 . Plaintiff also became aware that Defendant’s lSl party booking website failed to make
reservations for accessible guest rooms available in the same manner as individuals

who do not need accessible rooms. See Addendum A.

 

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22.Because third and first party booking agents failed to identify and describe mobility
related accessibility features and guest rooms offered through its reservations service
in enough detail to reasonably permit Plaintiff to assess independently whether
Defendant’s Hotel meets his accessibility needs Plaintiff declined to book a room
there and because Plaintiff was unable to make reservations for accessible guest
rooms available in the same manner as individuals who do not need accessible rooms,
Plaintiff declined to book a room there.

23.Plaintiff thereafter reviewed Defendant’s online information relating to accessibility
or lack thereof, including in particular photographs of the amenities at the Hotel all as
more fully documented in Addendum A.

24. Online information relating to accessibility or lack thereof disclosed Defendant’ s non-
compliance with architectural barriers to accessibility as more fully documented in
Addendum A.

25.Defendant has violated the ADA by denying Plaintiff equal access to its public
accommodation on the basis of his disability as outlined above and as outlined in
Addendum A.

26.The ADA violations described in Addendum A relate to Plaintiff’s disability and
interfere with Plaintiff’s full and complete enjoyment of the Hotel.

27.As a result of the deficiencies described above, Plaintiff declined to book a room at
Defendant’s Hotel and did no travel to Boise to visit there.

28. The removal of accessibility barriers listed above is readily ach ievable.

29. As a direct and proximate result of ADA Violations, Defendant’s failure to remove
accessibility barriers prevented Plaintiff from equal access to the Defendant’s public
accommodation

WHEREFORE, Plaintiff prays for all relief as follows:

A. Relief described in 42 U.S.C. §2000a - 3; and

B. Relief described in 42 U.S.C. § l2l88(a) and (b) and, particularly -

C. Injunctive relief order to alter Defendant’s place of public accommodation to
make it readily accessible to and usable by ALL individuals with disabilities;

and

 

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D. Requiring the provision of an auxiliary aid or service, modification of a
policy, or provision of alternative methods, to the extent required by
Subchapter Ill of the ADA; and

E. Equitable nominal damages; and

F. For costs, expenses and attorney’s fees; and

G. All remedies provided for in 28 C.F.R. 36.501(a) and (b).

COUNT TWO
Negligence

30. Plaintiff realleges all allegations heretofore set folth.

3 1 . Defendant had a duty to Plaintiff to remove ADA accessibility barriers so that Plaintiff
as a disabled individual would have full and equal access to the Hotel.

32. Defendant breached this duty.

33 . Defendant’s knowing and intentional discrimination against Plaintiff reinforces above
forms of discrimination, causing Plaintiff damage.

34. Defendant’s knowing and intentional discrimination has relegated Plaintiff to an
inferior status in society, causing Plaintiff damage.

35,Defendant’s knowing and intentional unfair and unnecessary discrimination against
Plaintiff demonstrates Defendant’s knowing and intentional damage to Plaintiff.

36.Defendant’s breach of duty caused Plaintiff damages including, without limitation,
the feeling of segregation, discrimination, relegation to second class citizen status the
pain, suffering and emotional damages inherent to discrimination and segregation and
other damages to be proven at trial.

37. By violating Plaintiff"s civil rights, Defendant engaged in intentional, aggravated and
outrageous conduct.

38. The ADA has been the law of the land since 1991, but Defendant engaged in a
conscious action of a reprehensible character, that is, Defendant denied Plaintiff his
civil rights, and cause him damage by virtue of segregation, discrimination, relegation
to second class citizen status the pain, suffering and emotional damages inherent to

discrimination and segregation and other damages to be proven at trial

 

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39. Defendant either intended to cause injury to Plaintiff or defendant consciously
pursued a course of conduct knowing that it created a substantial risk of significant
harm to Plaintiff.

40. Defendant is liable to Plaintiff for punitive damages in an amount to be proven at trial
sufficient, however, to deter this Defendant and others similarly situated from
pursuing similar acts.

WHEREFORE, Plaintiff prays for relief as follows:

A. For finding of negligence; and

B. For damages in an amount to be proven at trial; and

C. For punitive damages to be proven at trial; and

D. For such other and further relief as the Court may deem just and proper.
REQUEST FOR TRIAL BY JURY

Plaintiff respectfully requests a trial by jury in issues triable by a jury. -

RESPECTFULLY SUBMI'I"I`ED this 13th day of December, 2018.

PE?TROJNIK
Pl

'affr \/ \/

 

